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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 1 - Judgm ent in a Crim inal Case



                                 UNITED STATES DISTRICT COURT
                                     Middle District of Alabama
UNITED STATES OF AMERICA

         v.                                                             Case Number 2:05-CR-138-LSC

DI’MITRI RAY HENDERSON                                                  USM Number 11739-002
      Defendant.


                                         JUDGMENT IN A CRIMINAL CASE
                               (For Offenses Committed On or After November 1, 1987)

         The defendant, DI’MITRI RAY HENDERSON, was represented by Donnie Wayne Bethel.

         On motion of the United States, the court has dismissed counts 2 through 85 with prejudice.

        The defendant pleaded guilty to count 1. Accordingly, the defendant is adjudged guilty of the following
count, involving the indicated offense:

Title & Section                                Nature of Offense                 Offense Ended   Count Num ber

18 USC § 2314                       Transportation of Counterfeited Securities    2/23/2005      1

     As pronounced on June 8, 2006, the defendant is sentenced as provided in pages 2 through 6 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is ordered that the defendant shall pay to the United States a special assessment of $100.00, for count
1, which shall be due immediately, payable to the Clerk, U. S. District Court, Middle District of Alabama, P.O. Box
711, Montgomery, AL 36104.

        It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.

         Done this 12th day of June 2006.




                                                                        L. SCOTT COOGLER
                                                                   UNITED STATES DISTRICT JUDGE
                                                                        124019
                Case 2:05-cr-00138-MHT-CWB Document 99 Filed 06/12/06 Page 2 of 6
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 2 - Im prisonm ent


                                                                                                Judgment--Page 2 of 6
Defendant: DI'MITRI RAY HENDERSON
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                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of TWELVE (12) months and ONE (1) day as to Count 1.

        The Court recommends to the Bureau of Prisons that the defendant be housed as close as possible to his
family in Montgomery, AL.

         The defendant is remanded to the custody of the United States Marshal.




                                                               RETURN

         I have executed this Judgment as follows:




         Defendant delivered on                       to                                   at
                     , with a certified copy of this Judgment.



                                                                   United States Marshal

                                             By
                                                                        Deputy Marshal
                 Case 2:05-cr-00138-MHT-CWB Document 99 Filed 06/12/06 Page 3 of 6
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Supervised Release

                                                                                                                  Judgment--Page 3 of 6
Defendant: DI'MITRI RAY HENDERSON
Case Number: 2:05-CR-138-LSC
                                            SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months.
The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions
of supervised release.
The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

U        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

U        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

G        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is
a student, as directed by the student, as directed by the probation officer. (Check, if applicable.)

G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
month;

3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)       the defendant shall support his or her dependents and meet other family responsibilities;

5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
                 Case 2:05-cr-00138-MHT-CWB Document 99 Filed 06/12/06 Page 4 of 6
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Continuation of Standard Conditions of Supervised Release

                                                                                                                Judgment--Page 4 of 6
Defendant: DI'MITRI RAY HENDERSON
Case Number: 2:05-CR-138-LSC

                              CONTINUATION OF STANDARD CONDITIONS OF SUPERVISED RELEASE



9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;


12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
compliance with such notification requirement.
                 Case 2:05-cr-00138-MHT-CWB Document 99 Filed 06/12/06 Page 5 of 6
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 (cont'd) - Supervised Release


                                                                                                               Judgment--Page 5 of 6
Defendant: DI'MITRI RAY HENDERSON
Case Number: 2:05-CR-138-LSC

                                               SPECIAL CONDITIONS OF SUPERVISION

W hile the defendant is on supervised release pursuant to this Judgm ent:

1)   The defendant shall not incur any new debts (other than norm al debts for utilities and rental expenses, or m ortgage paym ents) or open
     any new lines of credit without perm ission of the probation officer unless the defendant is in com pliance with the paym ent of any
     m onetary obligations ordered.
2)   The defendant shall provide the probation officer any requested financial inform ation.
3)   The defendant shall cooperate with the collection of DNA.
4)   The defendant shall subm it to a search of his person, residence, office, or vehicle pursuant to the search policy of this court.
                 Case 2:05-cr-00138-MHT-CWB Document 99 Filed 06/12/06 Page 6 of 6
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 6 - Restitution and Forfeiture


                                                                                            Judgment--Page 6 of 6
Defendant: DI'MITRI RAY HENDERSON
Case Number: 2:05-CR-138-LSC

                                              RESTITUTION AND FORFEITURE


                                                           RESTITUTION

      The court, pursuant to the Victim and Witness Restitution Act, finds that the following is the victim of
defendant's criminal conduct and has sustained loss in the indicated amounts and orders restitution by the
defendant as follows:

 Name & address of payee                                                                           Amount


 Winn Dixie Corporation                                                                            $22,937.99
 Attn: Melissa Wilker, through United Compucred
 P.O. Box 111100
 Cincinnati, Ohio 45211

         Payments of restitution (interest waived) are to be made to Clerk, U. S. District Court, for transfer to the
payee.

        Restitution is due and payable immediately. Any balance remaining at the start of supervision shall be paid
at the rate of not less than $100.00 per month.

      If there are multiple payees, any payment not made directly to a payee shall be divided proportionately
among the payees named unless otherwise specified here:
